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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:22-cv-02305

TERRANCE TSCHATSCHULA,

               Plaintiff,

v.

TZ INSURANCE SOLUTIONS LLC,

               Defendant.


      DEFENDANT TZ INSURANCE SOLUTIONS LLC’S UNOPPOSED MOTION FOR
     EXTENSION OF TIME TO ANSWER OR OTHERWISE RESPOND TO PLAINTIFF
                  TERRANCE TSCHATSCHULA’S COMPLAINT


        Defendant TZ Insurance Solutions LLC (“Defendant”), by and through counsel, Holland

& Knight, LLP, files this unopposed motion for a twenty-one (21) day extension of time to answer

or otherwise respond to Plaintiff Terrance Tschatschula’s Complaint. In support thereof,

Defendant TZ states as follows:

        1.     In accordance with D.C.Colo.LCivR 7.1(a), Defendant’s counsel conferred with

Plaintiff Terrance Tschatschula (“Plaintiff”) by phone on September 6, 2022 regarding the relief

sought in this motion. Plaintiff indicated that he does not oppose the relief sought.

        2.     On July 26, 2022, Plaintiff filed his Notice, Claim, and Summons to Appear for

Trial in the Arapahoe County Small Claims Court alleging that Defendant violated the national

do-not-call regulation (the “Complaint”).

        3.     On August 9, 2022, Defendant received a copy of the Complaint.
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       4.      On September 7, 2022, Defendant removed this case from Arapahoe County Small

Claims Court to the United States District Court for the District of Colorado. Accordingly,

Defendant’s deadline to respond to Plaintiff’s Complaint is September 14, 2022. Fed. R. Civ.

81(c)(2).

       5.      Defendant now seeks an unopposed twenty-one (21) day extension of time to

answer or otherwise respond to Plaintiff’s Complaint in order to allow Defendant sufficient time

to complete its investigation into the claim and to finalize its response.

       6.      Good cause exists for the requested extension because the Complaint contains

allegations that Defendant must investigate before it can prepare a response. Granting Defendant’s

requested extension will not require the Court to modify or reschedule any deadlines in this case.

Accordingly, no undue delay or expense will result, nor will the granting of the motion prejudice

either party. This extension is sought so that justice may be done, and not for any improper purpose.

       7.      This motion for extension of time is the first extension of time Defendant has

requested from this Court.

       8.      Defendant has filed its request for an extension of time as early as practicable under

the circumstances, and before the deadline to answer or respond expires.

       9.      In accordance with D.C.Colo.LCivR 6.1(c), undersigned counsel certifies that she

shall serve a copy of this motion on Defendant.

       WHEREFORE, Defendant TZ Insurance Solutions LLC respectfully request that the

Court enter an order extending Defendant’s deadline to answer or otherwise respond to the

Complaint by twenty one (21) days up to and including October 5, 2022.




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DATED: September 7, 2022.
                                        Respectfully submitted,


                                        HOLLAND & KNIGHT, LLP

                                        By: /s/ Kensye N. Wood
                                        Kensye N. Wood, #56460
                                        1801 California Street, Suite 5000
                                        Denver, Colorado 80202
                                        Telephone: (303) 974-6660
                                        Facsimile: (303) 974-6659
                                        Email: Kensye.Wood@hklaw.com

                                        Attorney for Defendant TZ Insurance
                                        Solutions LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify on this 7th day of September, 2022, a true and correct copy of the foregoing
DEFENDANT TZ INSURANCE SOLUTIONS LLC’S UNOPPOSED MOTION FOR
EXTENSION OF TIME TO ANSWER OR OTHERWISE RESPOND TO PLAINTIFF
TERRANCE TSCHATSCHULA’S COMPLAINT was served on Plaintiff Terrance
Tschatschula by placing it in the United States mail, postage pre-paid, and addressed to the
following:

Terrance Tschatschula
7342 South Chapparal Circle East,
Centennial, Colorado 80016

                                              /s/ Alanna Moore
                                              Alanna Moore




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